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My name is Donald Lee Nichols, Jr. | reside at 20256 FM 450 N., Diana, Tx. | have
lived there since 2010. The story | am about to write is true and accurate to the
best of my recollection. | will swear to it in a court of law.

In August 2005, Hurricane Katrina hit New Orleans, etc. The following Sunday
morning during the worship service at FBC Waskom, our pastor Leland Crawford
asked the men who would be willing to travel to Baton Rouge to pick up evacuees
from south Louisiana and transport them back to Texas. WE would be using a
people mover (holds 30 people) and the church van (holds 15 people). We would
need to leave about 2 pm following the church service.

| stood up and volunteered. No one else volunteered at that moment. After
church, my oldest son, Ryan Taylor Nichols, asked if he could go with me. | told
him this would be a hard trip, that he might see things he didn’t need to see.
Basically | told him it was a trip for grown men. My son was in the 8" grade at
Waskom Middle School. He assured me he would and could take it. Just give him
a chance. So | did. In the meantime, 2 other men also volunteered. So the 4 of us

left at 2 pm after buying gasoline and necessary supplies for the trip. We traveled
till we arrived at the campus of LSU. Once there, we loaded 30 men/women
evacuees onto the people mover. Ryan had not slept at all on the way down. We
left about 10 pm headed to Marshall, Tx. We drove all night. Since there were no
seats left, | was driving and Ryan sat on the cooler. He stayed awake all night. We
arrived in Marshall and these evacuees were turned away. So we drove to Dallas
and arrived at Reunion Arena. There we unloaded all 30 evacuees and headed
home. Ryan and | did not sleep till we were back in our home in Karnack. | was
very impressed and proud that my son had made that extremely hard trip with
me. There was much to witness at LSU and on the ride to Reunion Arena. Ryan

took it all in.

Fast forward to October 2018. My son now has a 501 © 3 nonprofit organization
called Rescue the Universe. He has already done multiple hurricane rescues by
this time. He had just come back from Hurricane Florence in September 2018. He
asked me to accompany him to Panama City, Florida for Hurricane Michael. |
prayed about it and began to get my new boat ready for the trip. | made multiple
purchases for this event. Items included but were not limited to gas cans, oil for
the Stihl chainsaw, life preservers for adults and children, flashlights, batteries,
9mm ammo, first aid kits, latex gloves for blood born pathogens, etc., etc. | knew
we would need food, meds for me, toilet paper, etc., as well. There is lots of

planning for any trip. | was taught these skills while | served in the USMC from
1981-1985.

We left for Panama City while the eye of the storm was still 200 miles off the
coastline. We arrived in southern Alabama and the roads were already blocked by
downed trees. We had to get out and cut the trees off the road to proceed. We
were driving right into a hurricane! As | helped cut the trees a thought came to
my mind that my daddy would have told me. | will never forget it-“Don, what the
hell are you doing down here? You are old enough to know better!” The trees
that were 30-40’ in height were whipping around like crazy. It certainly reminded
me of Typhoon Ken in Okinawa back in 1982.

We arrived while the eye of the storm had just passed through and began search
and rescue. Keep in mind that we had a boat on Ryan’s truck that belonged to
scooter Toal who lives in Waskom. We came prepared for any event. This was a
no water, fast moving, Cat 4 storm (became Cat 5) the following week. The boat
wasn't needed and yet we had the boat to pull around the entire trip. Why? You
don't make any trip unprepared, especially to a search and rescue event, or any
trip where your life might be in jeopardy. By the way, Ryan also served in the
Same Marine Corps that | served in and received the same training.

Ryan was calling in USCG helicopters using his iPhone. He was speaking directly to
the pilots and telling them where to land for these medical rescues. All medical
rescues had to be airlifted out. No exceptions. My son was an expert at working
with the USCG!

On one particular rescue, we had to unhook the boat and leave it in the street ina
bad neighborhood. How do | know the neighborhood was bad? The police came
by, spoke to us, needed to help Ryan and the person get evacuated. One officer
asked me if | was packing? | said, “yes.” | actually tapped my pack in front of me.
There was much looting going on. We had the only gasoline in that side of town.
We probably had 50 gallons in the back of the truck. That’s the only way we had
of getting out of Panama City. Plus, | had to guard the boat till they came back.

To the best of my knowledge, when you start out on a trip, you research the laws
and regulations, especially about weapons. | have NEVER left my state without
 

protection. | believe that’s what the 2"° Amendment is for. However, | have never
carried it where it was prohibited.

Finally, my son came to my house on January 4, 2021. He said he needed a box for
this trip to DC. | had given him a green metal Greenlee box for the back of his
truck. That box was given to me by my dad, Donald Lee Nichols, Sr. Ryan had used
the box in previous search and rescues. This box was for the inside of his truck. So
we loaded up and went to Home Depot. No boxes available since Christmas had
just passed. Then we went to Lowe’s. Same, no boxes. Ryan asked me to build
him one. We purchased the lumber in Lowe’s and went home. | measured and
built the box to his backseat specifications. It was a supply box. The actual reason
for this box was so that everyone wouldn’t be scattered all over the back seat
area. What was the box for? Weapons, toilet paper, food, clothes, pillows, etc.
Stuff needed for any trip. | reminded him that the mayor of DC had closed all the
gas stations and motels. He would need

The afternoon of January 6", | was watching the news. | had spoken to my son on
the phone. He was turning his phone off since it only had 10% battery left. Then
all hell broke loose on the TV. What started out as a peaceful protest had
escalated somehow. | was watching NBC out of Shreveport. Then | heard the
news that scared me really bad. The news reported that these protesters were
now labeled as domestic terrorists and insurrectionists! | had heard that a female
veteran had been shot and that somebody else had died as well. | heard reports
that police and police groups were being called in to put down this escalation. So,
in fear for my son’s life, | texted Alex Harkrider a message. Something about them
being labeled as domestic terrorists and insurrectionists and that two people had
already died. | then told him to go get armed and protect themselves. | knew they
had left their weapons in Virginia and had ubered to DC. | was hoping to get them
back to Virginia where | could tell them to get the hell out of DC NOW. Alex
relayed the message to Ryan. Approximately one hour later, not sure of the time,

Ryan called me to tell me they were headed to Texas.

| made this statement of my own free will. | understand that this can and will
probably be used in a court of law. | stand by every word | have written.

Respectfully submitted,

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